          Case 8-19-78179-reg        Doc 8      Filed 12/09/19    Entered 12/09/19 17:35:57




                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF NEW YORK
                                 CENTRAL ISLIP DIVISION

IN RE:                                                Case No. 19-78179-reg
                                                      Chapter 13
SURINDER S GHOTRA

Debtor(s).

                                     NOTICE OF APPEARANCE


         Wilmington Savings Fund Society, FSB, d/b/a Christiana Trust, not in its Individual
         Capacity but Solely as Trustee for Brougham Fund I Trust, a Secured Creditor in the
         above styled proceeding, hereby requests that all matters which must be noticed to creditors,
         any creditors' committees, and any other parties-in-interest pursuant to FRBP 2002, whether
         sent by the Court, the Debtor, or any other party in the case, be sent to the undersigned; and
         pursuant to FRBP 2002(g), requests that the following be added to the Court's Master Mailing
         List:
                                      Margaret J. Cascino, Esquire
                                         Stern & Eisenberg, PC
                                     485 B Route 1 South, Suite 330
                                     Woodbridge Corporate Center
                                            Iselin, NJ 08830




                                          By:        /s/ Margaret J. Cascino, Esquire
                                                  Margaret J. Cascino, Esquire,
                                                  Bar No: 4196911
                                                  Stern & Eisenberg, PC
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                                                  Attorney for Creditor
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                                    CERTIFICATE OF SERVICE

       I HEREBY CERTIFY, under the penalty of perjury, that I caused a true and correct copy of the
foregoing Notice of Appearance to be sent by electronic means via the Court's CM/ECF notification
system this 9th day of December, 2019, to the following:


Michael J. Macco
2950 Express Drive South
Suite 109
Islandia, NY 11749
ecf@maccosternlaw.com
Chapter 13 Trustee

Btzalel Hirschhorn
Shiryak, Bowman, Anderson, Gill &
Kadochnikov, LLP
80-02 Kew Gardens Road
Suite 600
Kew Gardens, NY 11415
bhirschhorn@abzlaw.com
Counsel for Debtor (s)

and by standard first class mail postage prepaid to:

Surinder S Ghotra
112 Hillside Blvd
New Hyde Park, NY 11040
Debtor(s)

U.S. Trustee
United States Trustee
Long Island Federal Courthouse
560 Federal Plaza
Room 560
Central Islip, NY 11722-4437
U.S. Trustee


                                          By:          /s/Margaret J. Cascino, Esquire
